          Case 1:19-cv-00610-BAH Document 20 Filed 04/08/20 Page 1 of 15




                                 UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF COLUMBIA

    MANAL M. IBRAHIM, et al.,

                            Plaintiffs,                       Civil Action No. 19-610 (BAH)

                            v.                                Chief Judge Beryl A. Howell

    U.S. DEPARTMENT OF STATE, et al.,

                            Defendants.


                                        MEMORANDUM OPINION

         Plaintiffs Manal M. Ibrahim, who is a U.S. citizen, and her parents, Mohammad A.A.

Zaben and Khitam S.M. Zaben (“Mr. and Ms. Zaben” or “the Zabens”), who are residents of the

Israeli territories, initiated this case, on March 5, 2019, seeking to compel the defendants—the

U.S. Department of State, the U.S. Consulate General in Jerusalem (“Consulate”), and various

federal officials in their official capacities—“to immediately and forthwith take all appropriate

action to issue a decision on the Immigrant Visa applications of the [Zabens].” Compl. for

Issuance of Writ of Mandamus (“Compl.”) ¶ 1, ECF No. 1.1 During the year-long pendency of

this lawsuit, the defendants have, with the plaintiffs’ consent, requested and received extensions

of time for the defendants to respond to the plaintiffs’ claims, as the defendants anticipated that

the Zabens’ visa applications would soon be adjudicated, rendering this case moot. See, e.g.,

Defs.’ Consent Mot. for Extension of Time to File Defs.’ Resp. to Pls.’ Compl. (“Defs.’ May

Extension Request”) ¶¶ 3–4, ECF No. 8. Now, pending before the Court is the defendants’

1
           Some federal officials named in the complaint have been succeeded in office since the complaint was filed
and are automatically replaced by their successor officials. See FED. R. CIV. P. 25(d). In addition, the day before the
plaintiffs filed suit, “[o]n March 4, 2019, U.S. Consulate General Jerusalem . . . merge[d] into U.S. Embassy
Jerusalem to form a single diplomatic mission,” Statement, Robert Palladino, Deputy Spokesperson, U.S. Embassy
in Isr., Merger of U.S. Embassy Jerusalem and U.S. Consulate General Jerusalem (Mar. 3, 2019),
https://il.usembassy.gov/merger-of-u-s-embassy-jerusalem-and-u-s-consulate-general-jerusalem/, which merger has
no effect on the parties’ dispute.

                                                          1
          Case 1:19-cv-00610-BAH Document 20 Filed 04/08/20 Page 2 of 15




motion to dismiss the complaint for lack of subject matter jurisdiction, under Federal Rule of

Civil Procedure 12(b)(1), because, in defendants’ view, decisions on the Zabens’ visa

applications have been made. See Defs.’ Mot. Dismiss (“Defs.’ Mot.”) at 1, ECF No. 15.

Specifically, after the complaint was filed, “a consular officer of the United States refused

plaintiff Mohammed A. A. Zaben’s immigrant visa application on May 3, 2019 and . . . plaintiff

Khitam S. M. Zaben’s immigrant visa application remains refused as of February 3, 2020.”

Defs.’ Mem. Supp. Defs.’ Mot. (“Defs.’ Mem.”) at 1 (citation omitted), ECF No. 15.2

        Although Mr. Zaben’s immigrant visa application has been denied, the defendants

mischaracterize the legal significance of the so-called “refusal” of Ms. Zaben’s application. For

the reasons set forth below, the defendants’ motion to dismiss is granted in part and denied in

part.

I.      BACKGROUND

        As noted, Ibrahim is a United States citizen and the daughter of Mr. and Ms. Zaben, who

are residents of the Israeli territories. Compl. ¶¶ 1–2. In July 2012, Ibrahim submitted Form I-

130 petitions to the United States Citizenship and Immigration Services (“USCIS”), seeking

immigrant visas on behalf of Mr. and Ms. Zaben. Id. ¶ 2. USCIS approved the I-130 petitions in

2013, and then forwarded the petitions to the Consulate for further processing. Id. ¶ 18.

        On June 12, 2014, Mr. and Ms. Zaben were interviewed at the Consulate. Id. After the

interviews, “[a] consular officer refused the [Zabens’] immigrant visa application[s] under

[Immigration and Nationality Act (“INA”)] §221(g).” Decl. of Chloe Dybdahl, Attorney

Adviser, Advisory Opinions Division of the U.S. Department of State’s Bureau of Consular


2
        Alternatively, the defendants move for summary judgment, see Defs.’ Mem. at 3 (“[A]lthough the Court
may consider materials outside the pleadings to resolve a Rule 12(b)(1) motion, in an abundance of caution
defendants move in the alternative for summary judgment because this motion relies on materials outside the
pleadings.”), but the pending motion may be resolved under Rule 12(b)(1).

                                                       2
         Case 1:19-cv-00610-BAH Document 20 Filed 04/08/20 Page 3 of 15




Affairs (“Dybdahl Decl.”) ¶¶ 4, 7, ECF No. 15-2. The consular officer requested, however, that

the Zabens “provide additional information” necessary to evaluate their applications, id., and

indicated that their applications were placed in “administrative processing,” Compl. ¶ 2.

       For the next five years, the Zabens remained stuck in this state of limbo. Over a year

after their interview at the Consulate, on September 17, 2015, the Zabens were told that their

“pending” applications continued to require “administrative processing,” and that when the

processing was complete, “a consular officer [would] review the case again to determine if the

case is documentarily complete and to verify that none of the documents are expired.” Pls.’ Ex.

B at 1, ECF No. 16-3. Approximately four and a half months later, on February 1, 2016, the

Consulate sent an email to the Zabens’ attorney stating that “[a]s soon as all administrative work

is completed for Mr. and Mrs. Zaben’s cases, we will notify you so that your clients can renew

the necessary documents and prepare their cases for issuance.” Pls.’ Ex. C at 1, ECF No. 16-4.

Two subsequent communications from the Consulate reiterated this information to the Zabens.

See Pls.’ Ex. D at 1, ECF No. 16-5 (April 5, 2016 email); Pls.’ Ex. E at 1, ECF No. 16-6 (June

15, 2016 email).

       Over nine months after sending the February 1, 2016 email, on November 17, 2016, the

Consulate sent another email, again stating that the Zabens’ applications were being processed,

and this time further explaining that “[a]dministrative processing refers to various additional

steps that must be taken before a visa can be issued.” Pls.’ Ex. F at 1, ECF No. 16-7. Then, after

more than a year and a half had passed, on September 20, 2018, the United States Embassy

Jerusalem (“Embassy”) sent an email promising to “do all we can to see that the visa is

adjudicated as soon as the processing of [the] application is complete,” Pls.’ Ex. G at 1, ECF

No. 16-8, a promise reiterated approximately two months later in a November 30, 2018 letter



                                                 3
         Case 1:19-cv-00610-BAH Document 20 Filed 04/08/20 Page 4 of 15




from the Embassy, Pls.’ Ex. H at 1, ECF No. 16-9. Two additional communications from the

Embassy over the following three months further confirmed that the Zabens’ applications

remained in “administrative processing.” See Pls.’ Ex. I at 1, ECF No. 16-10 (December 6, 2018

email); Pls.’ Ex. J at 2, ECF No. 16-11 (February 15, 2019 letter).

       In May 2019, after the plaintiffs filed their complaint, the defendants, for the very first

time, treated Mr. and Ms. Zaben’s separate visa applications differently from one another. On

May 3, 2019, Mr. Zaben’s visa application was denied, pursuant to § 212(a)(3)(B) of the INA.

Dybdahl Decl. ¶ 7. Ms. Zaben, however, was asked “to provide additional documents and

information for her visa application.” Defs.’ May Extension Request ¶ 3. On July 25, 2019, Ms.

Zaben appeared for a second visa-application interview, at the end of which “a consular officer

again refused her application because [Ms. Zaben] did not bring certain documents with her.”

Defs.’ Consent Mot. for Extension of Time to File Defs.’ Resp. to Pls.’ Compl. ¶ 2, ECF No. 10.

Yet, rather than close Ms. Zaben’s case, the defendants continued to request and receive

documents from Ms. Zaben over the following months. See, e.g., Pls.’ Ex. Q at 1, ECF No. 16-

18 (noting that, on January 17, 2020, “the consulate called Ms. Zaben . . . to request additional

documents”).

       In a letter sent via email on January 31, 2020, the Embassy told Ms. Zaben that her “visa

application [was] refused” pursuant to § 221(g) of the INA, Pls.’ Ex. R at 3, ECF No. 16-19, a

different statutory basis than that given for the May 3, 2019 denial of Mr. Zaben’s visa

application, but the same statutory basis as that cited for the June 12, 2014 “refusals” of both

Zabens’ applications. Again, Ms. Zaben’s case was not closed. Instead, later the same day, the

Embassy sent a follow-up email stating that “[a]t the moment, [Ms. Zaben’s] case is still

undergoing administrative processing to verify the applicant’s qualifications for the visa.” Id. at



                                                 4
         Case 1:19-cv-00610-BAH Document 20 Filed 04/08/20 Page 5 of 15




1. On February 18, 2020, Ibrahim checked the status of Ms. Zaben’s application using the

Department of State Consular Electronic Application Center (“DSCEAC”) website. Decl. of

Manal M. Ibrahim (“Ibrahim Decl.”) ¶ 14, ECF No. 16-2. The website reported that Ms. Zaben’s

“visa case is currently undergoing necessary processing.” Pls.’ Ex. S at 1, ECF No. 16-20.

       Over the past eight years, as Ms. Zaben has waited to find out whether her visa

application will be approved, the life she seeks to lead near her daughter and other children in the

United States has passed her by. The plaintiffs claim that this delay “has had a devastating effect

on [Ms. Zaben].” Ibrahim Decl. ¶ 16. Most notably, Ms. Zaben has missed the births of her five

grandchildren. Id.; see also, e.g., Pls.’ Ex. B at 1 (“[M]e [and] my wife have been patiently

waiting we are expecting a grandchild this month that we would love to visit . . . .”); Pls.’ Ex. U

at 1, ECF No. 16-22 (“Khitam Zaben Asker is expecting the arrival of her grand-daughter within

the next few weeks, and will need entry into the United States.”).

       The plaintiffs claim that the defendants’ failure to issue decisions on the Zabens’ visa

applications in the nearly eight years since the applications were first filed and nearly six years

since the Zabens were initially interviewed at the Consulate violates the INA, the Administrative

Procedure Act, and applicable federal regulations. Compl. ¶¶ 25, 31–32. They therefore seek “a

writ of mandamus directing the Consulate to render a decision either granting or denying Mr. and

Ms. Zaben’s Immigrant Visa applications pursuant to 22 C.F.R. § 42.81(a).” Id. ¶ 30.

       As noted, the defendants initially obtained, with the plaintiffs’ consent, a series of

extensions of time to respond to the complaint. See, e.g., Defs.’ May Extension Request. On

February 7, 2020, before the expiration of the most recently granted extension, the defendants

moved to dismiss this action, which motion is now ripe for resolution, with consideration of the




                                                  5
         Case 1:19-cv-00610-BAH Document 20 Filed 04/08/20 Page 6 of 15




supplemental authority submitted by the plaintiffs on March 20, 2020. See Pls.’ Notice Suppl.

Auth., ECF No. 18.

II.    LEGAL STANDARD

       “Federal courts are courts of limited jurisdiction,” Gunn v. Minton, 568 U.S. 251, 256

(2013) (internal quotation marks omitted) (quoting Kokkonen v. Guardian Life Ins. Co. of Am.,

511 U.S. 375, 377 (1994)), and “have only the power that is authorized by Article III of the

Constitution and the statutes enacted by Congress pursuant thereto,” Johnson v. Comm’n on

Presidential Debates, 869 F.3d 976, 980 (D.C. Cir. 2017) (internal quotation mark omitted)

(quoting Bender v. Williamsport Area Sch. Dist., 475 U.S. 534, 541 (1986)). To survive a

motion to dismiss under Federal Rule of Civil Procedure 12(b)(1), the plaintiff thus “bears the

burden of invoking the court’s subject matter jurisdiction.” Arpaio v. Obama, 797 F.3d 11, 19

(D.C. Cir. 2015).

       When a jurisdictional skirmish “present[s] a dispute over the factual basis of the court’s

subject matter jurisdiction,” “the court must go beyond the pleadings and resolve” any dispute

necessary to the disposition of the motion to dismiss. Feldman v. FDIC, 879 F.3d 347, 351

(D.C. Cir. 2018) (alteration in original) (internal quotation mark omitted) (quoting Phoenix

Consulting v. Republic of Angl., 216 F.3d 36, 40 (D.C. Cir. 2000)). The court must accept as

true “factual allegations in the complaint and ‘construe the complaint liberally, granting plaintiff

the benefit of all inferences that can be derived from the facts alleged.’” Am. Nat’l Ins. Co. v.

FDIC, 642 F.3d 1137, 1139 (D.C. Cir. 2011) (quoting Thomas v. Principi, 394 F.3d 970, 972

(D.C. Cir. 2005)). In addition, however, the “court may properly consider . . . evidentiary

material in the record,” again affording the plaintiff “the benefit of all reasonable inferences.”

Feldman, 879 F.3d at 351; see also Am. Freedom Law Ctr. v. Obama, 821 F.3d 44, 49 (D.C. Cir.



                                                  6
         Case 1:19-cv-00610-BAH Document 20 Filed 04/08/20 Page 7 of 15




2016) (“[W]e ‘may consider materials outside the pleadings in deciding whether to grant a

motion to dismiss for lack of jurisdiction.’” (quoting Jerome Stevens Pharm., Inc. v. FDA, 402

F.3d 1249, 1253 (D.C. Cir. 2005))).

III.   DISCUSSION

       The defendants argue that the Zabens’ visa applications have been adjudicated and thus

the doctrine of consular nonreviewability deprives the Court of subject matter jurisdiction to

resolve the plaintiffs’ claims. Defs.’ Mem. at 1. Indeed, the law is well settled that the INA

grants “consular officers exclusive authority to review applications for visas,” Saavedra Bruno v.

Albright, 197 F.3d 1153, 1156 (D.C. Cir. 1999) (citing 8 U.S.C. §§ 1104(a), 1201(a)), and “[i]n

view of the political nature of visa determinations and of the lack of any statute expressly

authorizing judicial review of consular officers’ actions, courts have applied what has become

known as the doctrine of consular nonreviewability” to visa-application decisions, id. at 1159.

“The doctrine holds that a consular official’s decision to issue or withhold a visa is not subject to

judicial review, at least unless Congress says otherwise.” Id.; see also Castaneda-Gonzalez v.

Immigration & Naturalization Serv., 564 F.2d 417, 428 n.25 (D.C. Cir. 1977) (observing that “a

consular officer [can] make . . . a decision [to deny a visa] without fear of reversal since visa

decisions are nonreviewable”).

       This doctrine applies differently to each of the Zabens. The defendants report that Mr.

Zaben’s application was refused on May 3, 2019, Dybdahl Decl. ¶ 7, and the plaintiffs never

attempt to dispute this claim, see generally Pls.’ Mem. Opp’n Defs.’ Mot. (“Pls.’ Opp’n”), ECF

No. 16. The defendants are therefore entitled to dismissal of the plaintiffs’ claims as they pertain

to Mr. Zaben’s application. As to Ms. Zaben’s application, however, the defendants’ argument

falls short. Despite the defendants’ claims to the contrary, no final decision regarding Ms.



                                                  7
         Case 1:19-cv-00610-BAH Document 20 Filed 04/08/20 Page 8 of 15




Zaben’s application has been rendered. Further, the defendants argue that the plaintiffs have

improperly attempted to amend their complaint through their memorandum in opposition, see

Defs.’ Reply Supp. Defs.’ Mot. (“Defs.’ Reply”) at 1, ECF No. 17, but in fact the plaintiffs’

opposition memorandum and the complaint present the same theory: that Ms. Zaben’s

application has not been adjudicated because it remains in “administrative processing.” These

arguments for dismissal of the plaintiffs’ claims as they pertain to Ms. Zaben’s application are

addressed seriatim.

       A.      The Doctrine Of Consular Nonreviewability Does Not Apply With Respect
               To Ms. Zaben’s Application

       The defendants’ primary argument is that the doctrine of consular nonreviewability

applies to bar judicial review of Ms. Zaben’s claims. See Defs.’ Mem. at 3–4; Defs. Reply at 3–

5. Yet, the doctrine of consular nonreviewability does not bar all possible suits pertaining to a

consular officer’s consideration of a visa application. “When the Government simply declines to

provide a decision in the manner provided by Congress, it is not exercising its prerogative to

grant or deny applications but failing to act at all.” Nine Iraqi Allies Under Serious Threat

Because of their Faithful Serv. to the U.S. v. Kerry, 168 F. Supp. 3d 268, 290–91 (D.D.C. 2016).

Accordingly, “while the doctrine of consular nonreviewability precludes review of final visa

application decisions, it does not insulate a delay in reaching those decisions from judicial

review.” Vulupala v. Barr, No. 19-cv-378 (ABJ), 2020 WL 601887, at *6 (D.D.C. Feb. 7, 2020)

(emphasis in original); see also, e.g., Patel v. Reno, 134 F.3d 929, 931–32 (9th Cir. 1998)

(“Normally a consular official’s discretionary decision to grant or deny a visa petition is not

subject to judicial review. However, when the suit challenges the authority of the consul to take

or fail to take an action as opposed to a decision taken within the consul’s discretion, jurisdiction

exists.” (citations omitted)); Nine Iraqi Allies, 168 F. Supp. 3d at 290 (“[T]he doctrine of


                                                  8
         Case 1:19-cv-00610-BAH Document 20 Filed 04/08/20 Page 9 of 15




consular nonreviewability is not triggered until a consular officer has made a decision with

respect to a particular visa application.” (emphasis in original)); P.K. v. Tillerson, 302 F. Supp.

3d 1, 11 (D.D.C. 2017) (same).

       The defendants maintain that they have issued a decision with respect to Ms. Zaben’s

application. As support, the defendants assert that “on June 12, 2014” after Ms. Zaben’s first

interview at the Consulate, “the consular officer refused the immigrant visa application under

INA §221(g),” and, as of February 3, 2020, “the immigrant visa application of Ms. Zaben

remains refused under INA §221(g).” Dybdahl Decl. ¶¶ 4–5. As such, the defendants argue that

the doctrine of consular nonreviewability applies here. Defs.’ Mem. at 3–4. The plaintiffs,

however, contend that on June 12, 2014, Ms. Zaben’s application was “not . . . refused with

finality,” and, “[t]o the contrary, it remains pending, subject to ‘administrative processing.’”

Pls.’ Opp’n at 1 (emphases in original). Thus, “the question to be determined is whether the

agency has already rendered a final decision that would trigger the doctrine.” Vulupala, 2020

WL 601887, at *3. The plaintiffs have the better argument here.

       Decisions of both this Court and other courts have consistently recognized that “where

the application is still undergoing administrative processing, even where a refusal has been

relayed, the decision is not final,” and thus “claims alleging unreasonable delay while a case

remains suspended in ‘administrative processing’ are not barred by the doctrine of consular

nonreviewability.” Ghadami v. U.S. Dep’t of Homeland Sec., No. 19-cv-00397 (ABJ), 2020 WL

1308376, at *5 (D.D.C. Mar. 19, 2020); see Vulupala, 2020 WL 601887, at *3–6 (concluding

that doctrine of consular nonreviewability did not apply to review of application in

“administrative processing”); Afghan & Iraqi Allies Under Serious Threat Because of Their

Faithful Serv. to the U.S. v. Pompeo, 18-cv-01388 (TSC), 2019 WL 367841, at *10 (D.D.C. Jan.



                                                  9
        Case 1:19-cv-00610-BAH Document 20 Filed 04/08/20 Page 10 of 15




30, 2019) (“[A]dministrative processing is not a final adjudication but a mandatory intermediate

step.”); Nine Iraqi Allies, 168 F. Supp. 3d at 287 (“[A]ny Plaintiff with an application in

‘administrative processing’ has not yet received a final decision.”); Mohamed v. Pompeo, No.

1:19-cv-01345-LJO-SKO, 2019 WL 4734927, at *4 (E.D. Cal. Sept. 27, 2019) (“This Court . . .

finds persuasive the reasoning of other Courts that have found the ‘administrative processing’

designation insufficient to constitute a refusal.”); Alwan v. Risch, No. 2:18-CV-0073, 2019 WL

1427909, at *4 (S.D. Ohio Mar. 29, 2019) (concluding that no final decision had been made

when “applications [were] still entrenched in ‘administrative processing’”); Saleh v. Tillerson,

293 F. Supp. 3d 419, 431 (S.D.N.Y. 2018) (“[A] visa that is in ‘administrative processing’

cannot be said to have received final approval.”); see also, e.g., P.K., 302 F. Supp. 3d at 11

(citing communication indicating that applications were in “administrative processing” as among

evidence that “strongly suggest[ed] that Plaintiffs’ visa applications ha[d] not been finally

refused”); Assad v. Holder, 2:13-00117 (WJM), 2013 WL 5935631, at *4 (D.N.J. Nov. 1, 2013)

(determining that “administrative review” language in letter “clearly indicate[d] that the decision

on [plaintiff’s] visa [was] still pending and not final”); Schutz v. Secretary, Dep’t of State, No.

6:11-cv-1296-Orl-31DAB, 2012 WL 275521, at *2–3 (M.D. Fla. Jan. 31, 2012) (finding

document that reported an application was in “administrative processing,” id. at *2, as “most

reasonably interpreted as a notice that the ultimate decision ha[d] not yet been made,” id. at *3).

The reasoning in these cases is persuasive. “By consigning applicants to ‘administrative

processing,’ the Government endeavor[s] to enjoy the benefits of consular nonreviewability”

without actually issuing final decisions. Nine Iraqi Allies, 168 F. Supp. 3d at 289. “The

Government cannot have it both ways.” Id.




                                                 10
         Case 1:19-cv-00610-BAH Document 20 Filed 04/08/20 Page 11 of 15




        The allegations in the complaint (taken, at this stage, as true), bolstered and supplemented

by the undisputed evidence presented by both parties, establish that no final decision has been

made regarding Ms. Zaben’s visa application. Although, on June 12, 2014, a consular officer

interviewed Ms. Zaben and claimed to “refuse[] [Ms. Zaben’s] immigrant visa application under

INA §221(g),” Dybdahl Decl. ¶ 4, Ms. Zaben was also told, immediately after her interview, that

her case “remained pending based on ongoing ‘administrative processing,’” Compl. ¶ 2,

contradicting the proposition that her application had been denied, see, e.g., Nine Iraqi Allies,

168 F. Supp. 3d at 285 (“Documents that the Government gives to . . . applicants following their

consular interviews . . . belie the Government’s contention that such ‘denials’ are final or even

any kind of decision at all.”). Then, on at least ten occasions over the next six years, Ms. Zaben

was told that “administrative processing” of, or “administrative work” on, her application was

ongoing, and that she had to continue to wait. See Pls.’ Ex. B at 1; Pls.’ Ex. C at 1; Pls.’ Ex. D at

1; Pls.’ Ex. E at 1; Pls.’ Ex. F at 1; Pls.’ Ex. G at 1; Pls.’ Ex. H at 1; Pls.’ Ex. I at 1; Pls.’ Ex. J at

2; Pls.’ Ex. R at 1. These facts alone fatally undermine the defendants’ claim that final

adjudication of Ms. Zaben’s application has occurred.

        Additional evidence confirms that the June 12, 2014 “refusal” was not a final decision.

Ms. Zaben has been asked on multiple occasions to submit additional documents and information

so that her application can be processed, see, e.g., Dybdahl Decl. ¶ 4; Defs.’ May Extension

Request ¶ 3; Pls.’ Ex. Q at 1, a sure sign that consideration of her application continues, see

Vulupala, 2020 WL 601887, at *5 (determining that visa-application decision was not final when

State Department continued to request additional information from the applicant); P.K., 302 F.

Supp. 3d at 11 (same). Additionally, the DSCEAC website indicates that Ms. Zaben’s “visa case

is currently undergoing necessary processing,” Ex. S at 1, a circumstance found in other cases



                                                    11
        Case 1:19-cv-00610-BAH Document 20 Filed 04/08/20 Page 12 of 15




that concluded visa applications remained pending, see Nine Iraqi Allies, 168 F. Supp. 3d at

283–84 (“[T]he Government’s own Case Status Tracker states that Plaintiffs’ applications

remain[] in ‘administrative processing’ . . . .”); Alwan, 2019 WL 1427909, at *3 (“While they

have waited, Plaintiffs have consistently inquired online about the status of their applications,

with the status of their applications showing ‘administrative processing’ . . . .”).

       Finally, the defendants have conceded, on more than one occasion, that the current

administrative processing of Ms. Zaben’s application precedes the still-to-come final decision.

The Consulate stated, in a November 17, 2016 email, that “[a]dministrative processing refers to

various additional steps that must be taken before a visa can be issued,” Pls.’ Ex. F at 1, and

further, the Embassy said, in both a September 20, 2018 email and a November 30, 2018 letter,

that it would “do all we can to see that the visa is adjudicated as soon as the processing of [the]

application is complete,” Pls.’ Ex. G at 1; see Pls.’ Ex. H at 1. Cf. Nine Iraqi Allies, 168 F. Supp.

3d at 287 (relying on a similar email to determine that application had not been denied); see also,

e.g., Mohamed, 2019 WL 4734927, at *4 (“The U.S. Embassy in Djibouti’s own

communications to the Djibouti Plaintiffs suggest that the United States is continuing to process

the Djibouti Plainitff[s’] visa applications.”). As was the case when those communications were

sent, Ms. Zaben’s application currently remains in administrative processing, and thus a final

adjudication has not occurred.

       The defendants rejoin that “the Department of State’s regulations allow for

reconsideration after a refusal, if the applicant is able to provide additional evidence,” and further

maintain that “administrative processing” in this instance refers to reconsideration. Defs.’ Reply

at 2–3. Courts, however, have roundly rejected this argument. See, e.g., Nine Iraqi Allies, 168

F. Supp. 3d at 284 (“‘Administrative processing’ is not an opportunity for reconsideration of a



                                                  12
        Case 1:19-cv-00610-BAH Document 20 Filed 04/08/20 Page 13 of 15




decision but is a pre-requisite to reaching the decision itself—a crucial distinction.”). Even the

defendants acknowledge that under the applicable regulation, “reconsideration” lasts for only a

year, see Defs.’ Reply at 3 (quoting 22 C.F.R. § 42.81(e)), yet Ms. Zaben’s application has been

in administrative processing for roughly six years. Moreover, the treatment of Mr. Zaben’s

application—which until May 2019, was handled in exactly the same way as Ms. Zaben’s—

belies the defendants’ assertion that Ms. Zaben’s application is being “reconsidered” pursuant to

22 C.F.R. § 42.81(e). If, on June 12, 2014, the defendants had truly issued a final denial of Mr.

Zaben’s application pursuant to § 221(g) of the INA, an additional denial on May 3, 2019 under

§ 212(a)(3)(B) would have been unnecessary, if not gratuitous.

       The defendants further assert that the above-cited cases concerning “administrative

processing” are distinguishable because those cases were about either “special immigrant visa

applications pursuant to” the Refugee Crisis in Iraq Act of 2007 and the Afghan Allies Protection

Act of 2009, Defs.’ Reply at 3 (citing Nine Iraqi Allies, 168 F. Supp. 3d 268, and Afghan & Iraqi

Allies, 2019 WL 367841), or “a challenge to the Department of State’s application of Executive

Order No. 13,780,” id. at 4 (citing P.K., 302 F. Supp. 3d 1). To the contrary, many of the cases

addressing “administrative processing” concerned Form I-130 petitions and “denials” under

§ 221(g) of the INA following interviews with consular officers, same as here. See, e.g.,

Vulupala, 2020 WL 601887, at *5 n.4 (“[A] section 221(g) refusal is an interim decision.”);

Schutz, 2012 WL 275521, at *3 (“[T]he language accompanying the citation to Section 221(g) in

the [notice purporting to deny the application] explicitly informed [the applicant] that processing

ha[d] not yet been completed, contradicting any suggestion that the final decision had been

made.”). Additionally, these cases turned not on formal distinctions of the immigration law

invoked by the prospective immigrant but “on what is actually happening,” Vulupala, 2020 WL



                                                 13
         Case 1:19-cv-00610-BAH Document 20 Filed 04/08/20 Page 14 of 15




601887, at *4, and in that respect, no difference of consequence exists between this case and

those the defendants urge the Court to ignore.

         Accordingly, review of Ms. Zaben’s claims is not barred by the doctrine of consular

nonreviewability.3

         B.       The Plaintiffs Need Not Amend The Complaint

         The defendants also argue that the plaintiffs have attempted to “amend their complaint

through their opposition papers,” Defs.’ Reply at 1, and that while the complaint asserts “no

decision” has been made on Ms. Zaben’s application, the plaintiffs now instead allege “no final

decision” has been made, a critical distinction, id. at 4 (emphasis added) (internal quotation

marks omitted). The defendants maintain that without this new allegation in the complaint itself,

the plaintiffs’ argument against application of consular nonreviewability fails. See id. at 1, 4.

         The defendants are wrong to believe that the plaintiffs were required to use the magic

words “final decision” in the complaint. Under Federal Rule of Civil Procedure 8(a), a

complaint need only “give the defendants fair notice of what the claim is and the grounds upon

which it rests.” Jones v. Kirchner, 835 F.3d 74, 79 (D.C. Cir. 2016) (internal quotation marks

omitted) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007)). Here, the complaint

makes clear that the plaintiffs believe that Ms. Zaben’s case is “not resolved because of ongoing

‘administrative processing,’” Compl. ¶ 19, which is the same contention that the plaintiffs

advance in their opposition memorandum. In fact, the plaintiffs appear to have anticipated the

defendants’ consular-nonreviewability argument, as the complaint further explains: “The



3
         The defendants also maintain that Ms. Zaben’s claims are moot, Defs.’ Mem. at 3, but their mootness
argument and their consular-nonreviewability argument are one and the same, see id. at 3–4. Thus, “for the same
reason that the doctrine of consular nonreviewability does not apply, the case is not moot.” Schutz, 2012 WL
275521, at *4; see also, e.g., Afghan & Iraqi Allies, 2019 WL 367841, at *8 (“While a final decision, favorable or
unfavorable, would render [the plaintiff’s] claims moot, her progression through the process while this case has been
pending does not.” (citation omitted)).

                                                         14
        Case 1:19-cv-00610-BAH Document 20 Filed 04/08/20 Page 15 of 15




Plaintiffs are not asking the Court to review the Consulate’s decision to approve or deny a visa

request.” Id. ¶ 23. In short, no meaningful daylight exists between the plaintiffs’ complaint and

their opposition memorandum. Thus, the latter document was not an impermissible attempt to

amend the former, and the complaint needs no amendment to survive the motion to dismiss.

IV.    CONCLUSION

       For the foregoing reasons, the defendants’ Motion to Dismiss, ECF No. 15, is granted in

part and denied in part. The plaintiffs’ claims are dismissed as they pertain to Mr. Zaben’s visa

application, but not as they pertain to Ms. Zaben’s.

       An Order consistent with this Memorandum Opinion will be filed contemporaneously.

       Date: April 8, 2020

                                                       __________________________
                                                       BERYL A. HOWELL
                                                       Chief Judge




                                                15
